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                                                                                   April 20, 2022

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA



 In the Matter of the Creation of the                  )
 Calendar                                              )   ORDER OF THE CHIEF JUDGE
                                                       )                22-068
 of                                                    )
                                                       )
 Judge FRED W. SLAUGHTER                               )
                                                       )

       Pursuant to the recommended procedure adopted by the Court for the creation of the
 calendar of Judge Fred W. Slaughter,

       IT IS HEREBY ORDERED that the following cases are hereby transferred from the
 calendar of Judge John W. Holcomb to the calendar of Judge Fred W. Slaughter:

      2:20-cv-06210-JWH-RAOx            CMA CGM S.A., et al. v. Ocean Line Logistics
                                        Inc., et al.
      2:21-cv-06811-JWH-SP              Marlon Abraham Rosasen v. Kingdom of Norway
      5:20-cv-02650-JWH-AS              Mark Williams v. Victor V. Kitt, M.D.
      5:21-cv-00041-JWH-KKx             Sit Kit Leong, et al. v. Summitcrest Capital, Inc., et
                                        al.
      5:21-cv-00151-JWH-KKx             Michael Voeltz, et al. v. United States of America
      5:21-cv-00835-JWH-KKx             Jesus Christina Reynoso, et al. v. Jose Ignacio
                                        Rosario-Penaloza, et al.
      5:21-cv-00886-JWH-KKx             Nexon America Inc., et al. v. John Does 1-9, et al.
      5:21-cv-00972-JWH-KKx             Shijiazhuang Hongray Group v. World Trading 23
                                        Inc., et al.
      5:21-cv-01105-JWH-SPx             Esther Barragan v. Tristar Products, Inc., et al.
      5:21-cv-01221-JWH-SPx             Valley National Bank v. Wolfpack Transport LLC
      5:21-cv-01558-JWH-KKx             Shenzhen First Union Technology Co., Ltd., et al.
                                        v. ATC Express, Inc., et al.
      5:21-cv-01843-JWH-SHKx            Timothy Brady v. Delta Energy and
                                        Communications, Inc., et al.
      5:22-cv-00094-JWH-SHKx            Empyreal Enterprises, LLC v. The United States of
                                        America, et al.
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 In the Matter of the
 Creation of Calendar for
 District Judge Fred W. Slaughter                                                    2


      5:22-cv-00198-JWH-KKx          Lasandra Price v. GBG Properties Two LLC, et al.
      5:22-cv-00404-JWH-SPx          Terrell Wallace v. The Terminix International
                                     Company Limited Partnership, et al.
      8:16-cv-02212-JWH-DFMx         Global Telecom Corporation v. Seowon Intech Co
                                     Ltd, et al.

      On all documents subsequently filed in the case, please substitute the Judge initials
 FWS after the case number in place of the initials of the prior Judge.



 DATED: April       , 2022
                                                 Chief Judge Philip S. Gutierrez
